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 5                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                          )
                                                        )       NO.     CR-09-6039-WFN-2
 8                             Plaintiff,               )
                                                        )
 9          -vs-                                        )       ORDER
                                                        )
10   HUGO ALBERTO MEDINA-HERNANDEZ,                     )
                                                        )
11                             Defendant.               )
                                                        )
12
13         Pending before the Court is Defendant's Motion To Vacate Due Date for Trial
14 Memoranda, Jury Instructions and Voir Dire, filed January 15, 2010 (Ct. Rec. 274).
15 Defendant requests that the trial filing deadline of January 18, 2010, be vacated
16 because Defendant and the Government will both request that the trial date of February 1,
17 2010 be continued. Defendant's Motion to Continue Trial is noted for hearing on January 21,
18 2010.
19         The Court has reviewed the file and Motion and is fully informed. Accordingly,
20         IT IS ORDERED that Defendant's Motion To Vacate Due Date for Trial Memoranda,
21 Jury Instructions and Voir Dire, filed January 15, 2010, Ct. Rec. 274, is GRANTED. The
22 deadline for filing trial materials of January 18, 2010 is STRICKEN. The deadline will be
23 reset at the hearing on January 21, 2010, when the Defendant's Motion to Continue Trial (Ct.
24 Rec. 272) is addressed by the Court.
25         The District Court Executive is directed to file this Order and provide copies to
26 counsel.


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 1         DATED this 19th day of January, 2010.
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 3                                                s/ Wm. Fremming Nielsen
                                                     WM. FREMMING NIELSEN
 4   6039-201-19                              SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
